958 F.2d 369
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David Antoine STOKES, Plaintiff-Appellant,v.Lloyd WATERS, Warden;  Mr. Hutzell, Commissary Officer;G.A. Farris, Co II, Sergeant Ridenour II;  Captain Hecker;Ronald Cauffman;  Mr. Zoza, Counselor;  Mason Waters,Warden;  Jon Galley, Warden;  Mr. Bandeff, Counselor,Defendants-Appellees,andState of Maryland;  Lieutenant Trunell;  Brenda Johnson,Counselor, Defendants.
    No. 91-6355.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 2, 1992.Decided March 16, 1992.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Edward S. Northrop, Senior District Judge.  (CA-90-2712-N)
      David Antoine Stokes, appellant pro se.
      John Joseph Curran, Jr., Attorney General Glenn William Bell, Office of the Attorney General of Maryland, Baltimore, Md., for appellees.
      D.Md.
      DISMISSED.
      Before SPROUSE and WILKINSON, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      David Antoine Stokes noted this appeal outside the thirty-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional thirty-day period provided by Fed.R.App.P. 4(a)(5).   The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).   Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.   We therefore dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    